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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

DANIEL WILLIAM RUDD,
    Plaintiff,

v                                              No. 1:18-cv-124

THE CITY OF NORTON SHORES,                     HON. GORDON J. QUIST
MAYOR GARY NELUND, individually
and in his official capacity,                  MAG. RAY KENT
POLICE CHIEF DANIEL SHAW,
individually and in his official capacity,
SERGEANT MATTHEW RHYNDRESS,
individually and in his official capacity,
OFFICER MICHAEL WASSILEWSKI,
individually and in his official capacity,
MARK MEYERS, individually and as city
manager,
____

F/LT. CHRIS MCINTIRE, Michigan State
Police only in his individual capacity;
____

ATTORNEY DOUGLAS HUGHES,
individually and acting on behalf of his law
firm,
WILLIAM HUGHES, PLLC, a Michigan
law firm,
____

ATTORNEY MELISSA MEYERS,
individually and acting on behalf of her
law firm,
ATTORNEY MICHELLE MCLEAN,
individually and acting on behalf of her
law firm,
ATTORNEY JOEL BAAR, individually
and acting on behalf of his law firm,
BOLHOUSE, BAAR & HOFSTEE PC, a
Michigan law firm,
Defendants.



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_____________________________________________________________________________
 Daniel William Rudd                    Michael S. Bogren (P34835)
 Pro Se Plaintiff                       Plunkett Cooney
 201 S. Lake Ave.                       Attorney for Defendants City of Norton
 Spring Lake, MI 49456                  Shores, Gary Nelund, Daniel Shaw,
 231.557.2532                           Matthew Rhyndress, Michael
 daniel@stock20.com                     Wassilewski, Mark Meyers, Douglas
                                        Hughes and William Hughes, PLLC
 Melissa Meyers (P59559)                950 Trade Centre Way, Ste. 310
 Tanis Schultz PLLC                     Kalamazoo, MI 49002
 Attorney for Defendant Melissa Meyers 269.226.8822
 85 Campau Ave NW Ste R305              mbogren@plunkettcooney.com
 Grand Rapids, MI 49503-2611
 mmeyers@tanisshultz.com

Michelle M. McLean (P71393)                 Sarah R. Robbins (P81944)
Bolhouse Baar & Lefere PC                   Michigan Dept. of Attorney General
Attorney for Defendants, Michelle           Attorney for Defendant Chris McIntire
McLean, Joel Baar and Bolhouse, Baar        P.O. Box 30736
& Hofstee PC                                Lansing, MI 48909
Grandville State Bank Bldg.                 517.373.1162
3996 Chicago Dr. SW                         robbinss@michigan.gov
Grandville, MI 49418
616.531.7711
michellem@bolhouselaw.com


               REPLY TO PLAINTIFF’S OPPOSITION TO
             DEFENDANT MCINTIRE’S MOTION TO DISMISS

                                              Bill Schuette
                                              Attorney General

                                              Sarah R. Robbins (P81944)
                                              Rock Wood (P41181)
                                              Michigan Dept. of Attorney General
                                              Attorneys for Defendant McIntire
                                              P.O. Box 30736
                                              Lansing, MI 48909
                                              517.373.1162

Dated: June 13, 2018




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               CONCISE STATEMENT OF ISSUES PRESENTED

      1.      Defendant McIntire is immune from all of Plaintiff’s claims and should
              be dismissed from this litigation.

      2.      Plaintiff’s claims should be dismissed for failure to properly plead and
              state a claim.




             CONTROLLING OR MOST APPROPRIATE AUTHORITY

Authority:

Ashcroft v. Iqbal, 556 U.S. 662 (2009).

Bell Atlantic Corporation v. Twombly, 550 U.S. 544 (2007).

Lawson v. Bouck, 747 F. Supp. 376 (W.D. Mich. 1990).




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                                     ARGUMENT

      Defendant Lieutenant McIntire disagrees with the entirety of Plaintiff’s brief

(ECF No. 42) but will not address all points of contention. Instead, Defendant

Lieutenant McIntire relies on his previously filed Motion to Dismiss (ECF No. 23),

the accompanying brief in support (ECF No. 24), and the following arguments. This

reply brief addresses the main reasons why Plaintiff’s claims fail and the reasons

which should form the basis of this Court’s dismissal of all claims against

Defendant Lieutenant McIntire.


I.    Defendant McIntire is immune from Plaintiff’s claims.

      Plaintiff asserts that Defendant Lieutenant McIntire is not entitled to

immunity because Plaintiff is suing this Defendant only in his personal capacity.

(ECF No. 42, p. 15, III). However, in the Sixth Circuit, suits that “challenge an

action taken by an individual in his capacity as a state official constitute ‘official

capacity’ suits.” Eckford-El v. Toombs, 760 F. Supp. 1267, 1269 (W.D. Mich. 1991);

See also Lawson v. Bouck, 747 F. Supp. 376 (W.D. Mich. 1990). In Lawson, the

plaintiff sued three state officials in their personal capacities for confiscation of

personal property. Id. at 379. This Court found that the acts done by these

defendants occurred in their roles as state prison officials and that such suits are

official-capacity actions, barred by the Eleventh Amendment. “The capacity in

which the individual defendants were in fact acting is what matters, not the

capacity in which they were sued.” Id. at 379-380.




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        As in Lawson, here, Plaintiff seeks to hold Defendant Lieutenant McIntire

responsible for alleged actions taken while Defendant Lieutenant McIntire was an

officer with the Michigan State Police, a state trooper. Even assuming all of

Plaintiff’s allegations about the actions of Defendant Lieutenant McIntire are true,

Defendant Lieutenant McIntire is only involved because he is and was a state

trooper. Any investigation done by Defendant Lieutenant McIntire was based on

his role as a state law enforcement officer. Thus, controlling Sixth Circuit decisions

require that this case be deemed an official-capacity claim. See Cowan v. University

of Louisville School of Medicine, 900 F.2d 936, 942 (6th Cir. 1990) (quoting Rice v.

Ohio Dept. of Transportation, 887 F.2d 716 (6th Cir. 1989), vacated on other

grounds, 497 U.S. 1001 (1990) ("The record does not suggest in any way that the

defendant's actions were somehow unofficial. The capacity in which the individual

defendants were in fact acting is what matters, not the capacity in which they were

sued. . . .")).1

        Importantly, Plaintiff’s own framing of the allegations against the defendants

show that the claims are official-capacity claims. On page 17 of ECF No. 42,

Plaintiff states “[t]he civil rights violations alleged by Plaintiff stemmed from the

customs, practices and behaviors of the named defendants,” (emphasis in the

original) which is classic official capacity language. See KY v. Graham, 473 U.S.

159, 166 (1985). Here, as the customs, practices and behaviors are not specified,


1Contra Hafer v. Melo, 502 U.S. 21 (1991), which holds that state officials sued in
their individual capacities are “persons” for the purposes of §1983, if alleged
appropriately by a plaintiff.


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one is left to assume Plaintiff is implying the policies or customs of the entities for

which the defendants work played a part in the violation of federal law. Therefore,

the claims against Defendant Lieutenant McIntire are official-capacity and should

be dismissed.

      Furthermore, the last paragraph of page 6 of Plaintiff’s Brief (ECF No. 42)

supports the position that the alleged illegal actions of Defendant Lieutenant

McIntire were based on alleged actions in his role as a state law enforcement officer.

Plaintiff alleges “McIntire’s position of authority allowed him to eliminate the paper

trial. In doing so, McIntire also eliminated the possibility that another officer

would review his handling of the matter by ‘signing off’ on investigatory reports or

findings.” Assuming these assertions are true, these assertions can only be true if

Defendant Lieutenant McIntire was acting as a law enforcement officer. Thus,

regardless of how Plaintiff characterizes the capacity in which he is suing

Defendant Lieutenant McIntire, this suit is an official-capacity suit because all

actions alleged are tied to Defendant Lieutenant McIntire as a law enforcement

officer with the State of Michigan.

      As all of Plaintiff’s claims against Defendant Lieutenant McIntire are based

on alleged actions by Defendant Lieutenant McIntire in his capacity as an officer

with the Michigan State Police, this court should determine that this suit against

Defendant Lieutenant McIntire is an official-capacity action only, that Defendant




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Lieutenant McIntire is entitled to immunity,2 and that the claims against

Defendant Lieutenant McIntire should be dismissed. If this court does not grant

absolute immunity to Defendant Lieutenant McIntire, then Defendant Lieutenant

McIntire relies on the remainder of his immunity argument in his previously filed

brief, (ECF No. 24), and requests all claims against him be dismissed.


II.   Plaintiff’s claims should be dismissed for failure to properly plead
      and state a claim.

      Presently this court is required, for the purposes of determining the pending

motion to dismiss only, to presume that the factual allegations in the complaint are

true. Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 555-56, 570 (2007).

However, this court does not have to accept the legal conclusions of the Plaintiff to

be true. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). This distinction is crucial

because the majority of what the Plaintiff asserts as “facts” are not factual

assertions, but rather Plaintiff’s legal conclusions. For example, on page 1 of

Plaintiff’s brief (ECF No. 42), he asserts that “[i]n his representations to Plaintiff,

McIntire was essentially impersonating a Michigan State Police officer instead of

acting as one.” (Emphasis in original). Such assertions are not factual in nature;

instead, they are the legal conclusions of the Plaintiff.

      The above assertion does not state what Defendant Lieutenant McIntire did

but rather alleges the ultimate legal conclusion, which belongs to the trier of law


2A state trooper is absolutely immune from §1983 liability in his official capacity
under the Eleventh Amendment to the United States Constitution. Will v. Mich.
Dep’t of State Police, 491 U.S. 58, 71 (1989).


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and not the Plaintiff. Essentially, the Plaintiff is framing as a “fact” that Defendant

Lieutenant McIntire was committing fraudulent behavior. Such assertions do not

have to be given the presumption of truthfulness under Iqbal and Twombly, as they

are legal conclusions and not factual statements. Continuously, Plaintiff frames his

alleged legal conclusions as “facts” throughout the entirety of his brief. In the

Factual Background section on page 3, Plaintiff states as “facts” that “Gale colluded

with McIntire to manipulate, deceive (and ultimately intimidate) Plaintiff. The

objective was to obstruct and suppress Plaintiff’s petitioning activity.” Again, such

statements are legal conclusions that are to be determined by the trier of law and

should not be accepted by this court as true. As such, Plaintiff has still wholly

failed to articulate a claim against Defendant Lieutenant McIntire.

      Furthermore, Plaintiff requests that “[t]his court can plausibly infer that

Defendant McIntire was an essential element for orchestrating the sham

investigation” (emphasis in original). This Court is not required to infer such a

characterization. Rather, Iqbal requires that the well-pleaded facts of the Plaintiff

“infer more than a mere possibility of [a legal transgression].” Iqbal, 556 U.S. at

679 (quoting Fed. R. Civ. P. 8(a)(2)) (internal citations omitted). There is no

reasonable inference that could be made from Plaintiff’s Complaint that Defendant

Lieutenant McIntire was essential to anything, much less an illegal conspiracy

against the Plaintiff.

      Regardless, Plaintiff asserts he has met the pleading standard as it pertains

to Defendant Lieutenant McIntire. Plaintiff continues to cite and focus on the




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allegations from ¶56 of his Complaint, which only allege facts about Chief Gale’s

actions and the alleged intentions of Chief Gale. Yes, Defendant Lieutenant

McIntire’s name is contained in ¶56 but the Plaintiff’s assertions of Defendant

Lieutenant McIntire’s intentions are not facts but rather Plaintiff’s own legal

conclusion of what Plaintiff believes occurred. There are no specific affirmative acts

alleged in ¶56 by Defendant Lieutenant McIntire, to the contrary of what Plaintiff

asserts on p. 5 of ECF No. 42. In total, Plaintiff’s assertions of “facts” are legal

conclusions which should be given no weight by this court. Thus, Plaintiff’s

Complaint still fails to state a claim against Defendant Lieutenant McIntire and all

claims should be dismissed.

      Lastly, Plaintiff’s alleged deprivation of access to courts appears to a

disguised belief that Plaintiff has the right to win. In paragraph 106 of the

Complaint, Plaintiff alleges “[t]hroughout the course of these events, plaintiff had a

constitutional right to petition the government for help, to insist upon equal

protection under the law, to seek redress for grievances, and to challenge the

customs and policies of the Norton Shores Police Department. Plaintiff had the

right to persistently engage in these protected activities without fear of retaliation.”

Plaintiff admits he has petitioned the courts for assistance but was not successful at

his request for declaratory relief. See page 8 of ECF No. 42. The constitutional

right of access to the courts, whereby a plaintiff with a nonfrivolous legal claim has

the right to bring that claim to a court of law, is not a right to win. To bring a

successful access-to-courts claim, however, Plaintiff must show "actual injury" to




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the pursuit of a nonfrivolous legal claim. Lewis v. Case, 518 U.S. 343, 349 and 353

(1996). Further, the Supreme Court squarely has held that "the underlying cause of

action . . . is an element that must be described in the complaint, just as much as

allegations must describe the official acts frustrating the litigation." Christopher v.

Harbury, 536 U.S. 403, 415 (2002) (citing Lewis, 518 U.S. at 353 & n.3). The

Christopher Court held that, "[l]ike any other element of an access claim, the

underlying cause of action and its lost remedy must be addressed by allegations in

the complaint sufficient to give fair notice to a defendant." Christopher, 536 U.S. at

416. Plaintiff has not pled any injury and its lost remedy sufficiently to provide

notice as it applies to Defendant Lieutenant McIntire.3

      Rather, by Plaintiff’s own accounts of his petitioning activity and this

litigation are proof that Plaintiff has accessed various courts both state and federal

to air his grievances. However, Plaintiff appears to be asserting that any mounted

legal defense to his allegations are conspiracies to violate his rights, which is not

correct. (ECF No. 42, Sec. II). Such assertions do not meet the pleading standard of

denial of access to courts4 to imply liability against Defendant Lieutenant McIntire.


3In paragraph 112 of the Complaint, Plaintiff’s allegations could be construed that
his injury was a delay in resolution, but the matters were resolved and thus there is
no inherent injury. There is no right to a speedy resolution in civil matters.
4 Denial of access to the courts claims may be “forward-looking” or “backward-
looking.” In forward-looking claims, the plaintiff accuses the government of
creating or maintaining some frustrating condition, that stands between the
plaintiff and the courthouse door. Flagg v. City of Detroit, 715 F.3d 165, 173 (6th
Cir. 2013). The elements of a backward-looking denial of access claim: (1) a non-
frivolous underlying claim; (2) obstructive actions by state actors; (3) substantial
prejudice to the underlying claim that cannot be remedied by the state court; and
(4) a request for relief which the plaintiff would have sought on the underlying


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As Plaintiff has not alleged all of the elements of a backwards looking claim, all

claims tied to Plaintiff’s alleged denial of access to the courts should be dismissed.

      Defendant Lieutenant McIntire continues to rely on his previous brief which

further discusses Plaintiff’s failure to specify actions of Defendant Lieutenant

McIntire which would lead to liability.




claim and is now otherwise unattainable. Plaintiffs must make out the denial-of-
access elements against each defendant in conformance with the requirements of 42
U.S.C.S. § 1983. Id. at 174.


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                     CONCLUSION AND RELIEF REQUESTED

        For the reasons outlined in the previously filed Motion to Dismiss (ECF No.

23), the accompanying brief in support (ECF No. 24), and above this Court should

dismiss all claims against Defendant Lieutenant McIntire with prejudice and grant

such other relief as this Honorable Court deems appropriate.



                                              Respectfully submitted,

                                              Bill Schuette
                                              Attorney General



                                              /s/ Sarah R. Robbins
                                              Sarah R. Robbins (P81944)
                                              Attorney for Defendant McIntire
                                              Michigan Dep’t of Attorney General
                                              State Operations Division
                                              P.O. Box 30754
                                              Lansing, MI 48909
                                              (517) 373-1162
                                              RobbinsS@michigan.gov
Dated: June 13, 2018
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